Case 1:16-cv-01109-GBL-JFA Document 27 Filed 02/22/17 Page 1 of 1 PagelD# 152

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION
CRAIG CUNNINGHAM, )
Plaintiff,
v. Case No. 1:16-cv-01109 (GBL/JFA)
GREGORY CHARLES MITCHELL, et al.,
Defendants. ;

ORDER

THIS MATTER comes before the Court on the parties’ Joint Motion to Transfer Venue
(Dkt. No. 26). Upon consideration of the motion and the parties’ representations that jurisdiction
and venue are proper in the Middle District of Tennessee, it is hereby

ORDERED that the parties’ Joint Motion to Transfer Venue (Dkt. No. 26) is GRANTED;
it is further

ORDERED that this case be transferred to the United States District Court for the Middle
District of Tennessee; it is further

ORDERED that any party seeking an extension to file an answer must do so in the
transferee court.

IT IS SO ORDERED.

ENTERED this). day of February, 2017.

Alexandria, Virginia

/s/ \p
Lian O' Grady =)

United States District Judge
